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                              UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.
                                                        Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

         Defendants.



                           PLAINTIFFS’ OMNIBUS MOTION IN LIMINE

            Plaintiffs respectfully move in limine to exclude certain evidence and arguments.

     Specifically, Plaintiffs request that the Court preclude Cox from offering evidence or argument at

     trial concerning the following:

        1. Any evidence or argument inconsistent with this Court’s factual findings in its summary
           judgment decision concerning Cox’s DMCA defense in BMG v. Cox, Case No. 14-CV-
           1611 (E.D. Va.);

        2. Any evidence or argument concerning Cox’s misleading and unsupported contention that
           “96% Stop by 5 Notices”;

        3. Any evidence or argument relating to the policies or practices of other ISPs (including the
           Copyright Alert System);

        4. Any argument that Cox is not liable for infringement over its network by users other than
           named account holders;

        5. Any evidence or argument concerning the MarkMonitor ‘236 spreadsheet (DX 98 – DX
           100);

        6. The REV0003444 spreadsheet (DX 158) and any related testimony or argument;

        7. Emails Cox received from customers purporting to respond to Plaintiffs’ infringement
           notices (DX 363 – DX 2200);

        8. Any evidence or argument concerning Plaintiffs’ track-level revenues from the works in
           suit;
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    9. Affirmative deposition testimony from witnesses Cox controls and could bring to trial to
       testify in person;

    10. Live testimony from four key witnesses it refuses to make available for live examination
        in Plaintiffs’ case in chief; and

    11. Testimony from Victoria Sheckler.



 Dated October 19, 2019                                      Respectfully submitted,

                                                             /s/ Scott A. Zebrak
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